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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

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                                   7     EPIC GAMES, INC.,                                 Case No. 20-cv-05640-YGR (TSH)
                                   8                    Plaintiff and Counter-
                                                                                           ORDER RE: MOTION TO SEAL
                                   9     defendant,
                                                                                           Re: Dkt. No. 297
                                  10             v.

                                  11     APPLE INC.,
                                  12                    Defendant and
Northern District of California
 United States District Court




                                  13     Counterclaimant.

                                  14

                                  15          In ECF No. 297, Epic Games moved to seal the joint discovery letter brief and Exhibits 1-

                                  16   12 and A-E on the ground that they contained information designated as confidential by Apple. In

                                  17   response, Apple seeks to seal portions of Exhibits 1, 4 and 5 but none of the other materials. ECF

                                  18   No. 311. Apple’s proposed redactions to those exhibits are acceptable, and the motion to seal is

                                  19   granted to that extent. As Apple has filed in the public record Exhibits 1, 4 and 5 with those

                                  20   redactions, no further action is required for those documents.

                                  21          The motion to seal is denied as to the joint discovery letter brief and Exhibits 2-3, 6-12 and

                                  22   A-E because Apple does not seek to have them sealed. Epic may therefore file those items in the

                                  23   public record no sooner than four days and no later than 10 days from today.

                                  24          IT IS SO ORDERED.

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                                  26   Dated: February 12, 2021

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                                                                                                    THOMAS S. HIXSON
                                  28                                                                United States Magistrate Judge
